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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


DANIEL WILLIAM RUDD,

          Plaintiff,                          Case No. 1:18−cv−00124−GJQ−RSK

    v.

NORTON SHORES, CITY OF, et al.,

          Defendants.
                                        /

                                 CLERK'S NOTICE
The clerk's office has reviewed the following recent filing and notifies the filer
as follows:
TO: Steven Schultz
RE: Motion to Dismiss/Failure to State a Claim (ECF No. 58)
REASON FOR NOTICE: Attachments or exhibits are missing specific
description on the docket (e.g. "Exhibit", "Exhibit", "Exhibit", rather than
"Exhibit 1", "Exhibit 2", "Exhibit 3").
RECOMMENDED ACTION:              None. Court staff will make the necessary
modifications.

INFORMATION FOR FUTURE REFERENCE: When attachments or exhibits
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user for each document, so that each can be clearly identified in the resulting
docket entry, as well as when the documents are viewed. Users should
always select a Category, enter a Description, or use both, to provide a brief
description of each attachment. For example, Exhibit N (where Category =
Exhibit and Description = N) is more helpful to the court than Exhibit. Use this
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For further assistance, please contact the ECF Help Desk at
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456−2206.


                                            CLERK OF COURT

Dated: September 11, 2018            By:     /s/ C. Wenners
                                            Deputy Clerk
